Case 2:05-cr-20251-SH|\/| Document 48 Filed 08/18/05 Page 1 of 2 Page|D 53

IN THE UNITED STATES DISTRICT COURT

 

 

 

 

FOR THE WESTERN DISTRICT OF TENNES
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n - 08 I€'- 05

UNITED sTATEs oF AMERICA ‘FWE¢~_-§.':_f.‘l' ff’.?_.....“
an rrlALS_- €`,

v.

ALANDUS T. LANE 05Cr20251~1-Ma

ORDER ON ARRAIGNMEN'I`

This cause came to be heard on D¥ ' }5‘ - 05 the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME STEVE LEFFLEK who is RetainedepEinted.

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_The defendant Who' 13 not in custody, may stand on his present bond.

14 The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. __'
/_,__..
g //7,-,.,,,¢,7 J/,~

UNITED STATES MAGISTRA'I`E ]UDGE

CHARGES - 18:1343 & 2
fraud by wire, radio or television

Attorney assigned to Case: C. McMullen

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T'n'\s doc',rrnent entered on the docket sheet in compliance
With P.ule c~"‘ an 3,'01' 32(h) FFlCrP on v

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 48 in
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August 19, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

